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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,
                                                                 No. 24-CR-542 (AS)
                  v.
                                                               XXXXXXXX
                                                               [PROPOSED] ORDER
 SEAN COMBS,

                  Defendant.


       Upon the application of Teny R. Geragos, attorney for Defendant Sean Combs:

       IT IS HEREBY ORDERED THAT, the defendant Sean Combs, Inmate # 37452-054, will

be permitted to receive non-prison clothing at the MDC to wear for his trial scheduled to begin on

May 5, 2025. He is permitted to have up to five button down shirts, up to five pairs of pants, up to

five sweaters, up to five pairs of socks, and up to two pairs of shoes without laces to wear to court.


Dated: April 30, 2025
                                                              ___________________
                                                              Hon. Arun Subramanian
                                                              United States District Judge
                                                              Southern District of New York
